                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )       Case No. 3:09-00047
                                             )       Judge Crenshaw
ADRIAN DEWAYNE PATTERSON                     )


                  MOTION BY ATTORNEY PETER J. STRIANSE, ESQ.,
                   FOR PERMISSION TO WITHDRAW AS COUNSEL

        Peter J. Strianse, Esq., Attorney of Record for Defendant Patterson, hereby moves the

Court, pursuant to Local Rule 83.01(g), Middle District of Tennessee, for permission to withdraw

as counsel for Mr. Patterson.     This motion is based on the request of Mr. Patterson that

undersigned counsel withdraw due to his pro se filing of a Motion to Vacate Sentence pursuant

to 28 U.S.C. § 2255 on October 3, 2016, in MDTN Case No. 3:16-cv-02623. Undersigned

counsel has represented Mr. Patterson since October 2, 2009 and counsel and Mr. Patterson have

had a very good professional relationship. (Docket Entry 68).

        Undersigned counsel has contemporaneously filed an Affidavit providing a more detailed

explanation of his almost 7.5 years of representation.

        WHEREFORE, based on the foregoing, Peter J. Strianse, Esq., respectfully and

reluctantly requests the Court for permission to withdraw as counsel for Mr. Patterson.




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     Case 3:09-cr-00047 Document 414 Filed 01/19/17 Page 1 of 2 PageID #: 5635
                                              Respectfully submitted,

                                              TUNE, ENTREKIN & WHITE, P.C.
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                                              315 Deaderick Street
                                              Nashville, Tennessee 37238
                                              (615) 244-2770

                                              S:/ Peter J. Strianse
                                              PETER J. STRIANSE


                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing has been sent via the Court’s
electronic filing system unless not registered and, in that event deposited in the United States
mail, postage prepaid, to:

                              Sunny A.M. Koshy
                              Assistant United States Attorney
                              110 Ninth Avenue South
                              Suite A961
                              Nashville, TN 37203-3870

                              VIA HAND DELIVERY – 1/19/17
                              Adrian Dewayne Patterson
                              (Mr. Patterson is in the custody of the U.S. Marshal at the
                              Grayson County Detention Center in Leitchfield, KY, and will
                              be produced for the 1/19/17 Status Conference scheduled in
                              this case.)


       this 19th day of January, 2017.



                                                     S:/ Peter J. Strianse
                                                     PETER J. STRIANSE




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   Case 3:09-cr-00047 Document 414 Filed 01/19/17 Page 2 of 2 PageID #: 5636
